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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                  12/17/2021
-----------------------------------------------------------------X
FRHUEB.

                                                Plaintiff,                         21-CV-7395 (RA) (KHP)

                             -against-                                           ORDER SCHEDULING CASE
                                                                                MANAGEMENT CONFERENCE
THIAGO SABINO DE FREITAS ABDALA
and PRISCILA PATTO,

                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

          A Case Management Conference in this matter is hereby scheduled for Thursday,

December 23, 2021, at 10:00 a.m. Counsel for the parties are directed to call Judge Parker’s

AT&T conference line at the scheduled time. Please dial (866) 434-5269; access code 4858267.

                   SO ORDERED.

DATED:             New York, New York
                   December 17, 2021

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
